Case 1:21-cr-00371-BMC-TAM Document 48 Filed 10/15/21 Page 1 of 2 PageID #: 284



 O’Melveny & Myers LLP                  T: +1 310 553 6700
 1999 Avenue of the Stars               F: +1 310 246 6779
 8ᵗʰ Floor                              omm.com
 Los Angeles, CA 90067-6035




                                                                                                                   Daniel M. Petrocelli
 October 15, 2021                                                                                                  D: +1 310 246 6850
                                                                                                                   dpetrocelli@omm.com
 VIA ECF

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:       United States v. Thomas J. Barrack
           Criminal Docket No. 1:21-CR-371-2 (BMC)

 Dear Judge Cogan:

 With the consent of both Pretrial Services and the U.S. Attorney’s Office, defendant Thomas J.
 Barrack, Jr., respectfully moves the Court to modify his bond conditions as set forth in detail
 below, which will allow Mr. Barrack to fulfill his family and business obligations, and also to
 prepare for trial with his attorneys.

 Under the current and continuing bond conditions, Mr. Barrack has been released on a $250
 million dollar personal appearance bond, secured by $5 million in cash, over 21 million shares in
 Digital Bridge and the signatures and property of his adult child, ex-wife and close personal
 friend. See Docket Entry No. 15. The proposed bond will continue to “reasonably assure the
 appearance of the defendant as required and the safety of any other person and the
 community[.]” 18 U.S.C. § 3142(g).

 Mr. Barrack proposes that the bond be modified as detailed below. Pretrial Services and the
 U.S. Attorney’s Office have been consulted and consent to each of these proposed changes.

       •   As needed, with prior approval from Pretrial, the defendant shall be permitted to
           temporarily reside at a fixed location, to be approved by Pretrial Services, in the Central
           District of California for the purpose of visiting with his children and attending meetings
           with his lawyers and otherwise preparing for trial in this matter.

       •   As needed, with prior approval from Pretrial, the defendant shall be permitted to travel to
           New York and to temporarily reside at a fixed location, to be approved by Pretrial
           Services, for the purpose of attending meetings with his lawyers and otherwise preparing
           for trial in this matter, and to attend business meetings.

       •   Defendant shall not engage in any domestic financial transactions in excess of $2 million
           (excepting normal and customary payment of attorneys’ fees, and including but not



           Austin • Century City • Dallas • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                                Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
Case 1:21-cr-00371-BMC-TAM Document 48 Filed 10/15/21 Page 2 of 2 PageID #: 285




        limited to any transactions involving publicly held securities of any description) without
        the prior written consent of the government.

            o   For transactions between $1 million and $2 million, the defendant shall give
                notice of the transaction to the government within 48 hours, including information
                related to the transaction date, amount and recipient.

 These modifications will allow Mr. Barrack to fulfill his obligations to his minor children who
 reside and attend school in Los Angeles, to have adequate time to meet and prepare with his
 Los-Angeles and New York-based attorneys, and to allow Mr. Barrack to return to work. As to
 the latter request, Mr. Barrack runs a business that often requires complicated and significant
 financial transactions, as well as substantial payroll and monthly costs, and the success of his
 business depends on his ability to invest quickly in distressed and other assets.

 To date, Mr. Barrack has been fully compliant with his conditions of release and made required
 appearances before the Court. We respectfully request that the Court replace Attachment A to
 the July 26, 2021 Order Setting Conditions of Release and Appearance Bond (Docket No. 15)
 with the revised Attachment A to this letter.

 Respectfully submitted,


 /s/ Daniel M. Petrocelli

 Daniel M. Petrocelli
 James A. Bowman
 Nicole M. Argentieri
 Partners
 of O’MELVENY & MYERS LLP




                                                                                                     2
